                  Case 1:09-cr-00073-JRH-BKE Document 466 Filed 10/14/15 Page 1 of 1
AO24?(l01ll)                Motionlor Senteoce
               Orde!Regardrng                Reduct;otr    1o18U s.C r^3582(c)(2)
                                                     Pursuant                                                        Paget of2 (Pag€2 Nor for PublicDlsolosue)


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                                                        UNITED STATESDISTRICTCOURT                                    ,/11tt'r'$
                                                                   for the
                                                           SouthernDistrict of Georgia
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                                                                 AugustaDivision
                     United States of America
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                                                                            C a s eN o : l : 0 9 C R 0 0 0 7 3 - 8
                       JaimereProsser,aka "J"
                                                                          ) USMNo: 14165-021
DateofOriginalJudgment:       April 13,2010                               ) JosephH. Huff
DateofPreviousAmendedJudgment:Not Applicable                              ) Defendant'sAttomey
(UseDate of Last AmendedJudgmenttf Any)


                     Order Regarding Motion for SentenceReduction Pursuant to 18 U'S.C. $ 3582(c)(2)

        Upon motionof l-lthe defendant!the Directorof the Bureauof Prisonsflthe coud under 18 U.S.C.
$ 35S2(cXZ)  for a reduction in the term of imprisonmentimposedbasedon a guideline sentencingrange that has
subsequentlybeen lowered and made retroactiveby the United StatesSentencingCommission pursuantto 28 U.S.C.
$ 99a(u), and having consideredsuch motion, and taking into accountthe policy statementset forth at USSG $ 1BI .10 and
the sentencingfactors set fotth in l8 U.S.C, $ 3553(a),to the extent that they are applicable,

I T l S O R D E R E D t h a tt h e m o t i o ni s :
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                                                                                  re\tected
 E nENteO. ! CnaUfEU and the defendant'spreviously imposedsentenceof imprisonment@s
                     ssued of                  months is reduced to


                                              (CompleteParts I and II ofPage 2 when motion is granted)




Except as otherwiseprovided above,all provisions ofthejudgment dated
IT IS SO ORDER.ED.
                               It
orderDare: ----------?_..--
                /o//l/                z-tlf



                                                                              J. RandalHall
EffectiveDate:           November1. 2015                                      United StatesDistrict Judse
                       (if di-ffercntfrom order date)
